In Industrial Commission v. Kamrath, 118 Ohio St. 1,160 N.E. 470, this court held in the syllabus:
"1. The rights of injured employees and the dependents of killed employees to participate in the state insurance fund are such, and such only, as are conferred by statutory law.
"2. The provisions of the General Code relating to compensation of injured employees or the dependents of killed employees in force at the time the cause of action accrues are the measure of the right of such employees and dependents to participate in the state insurance fund.
"3. The cause of action of an injured employee accrues at the time he receives an injury in the course of his employment."
No duty rested upon the Industrial Commission to pay more than $12 per week, which was the maximum amount payable to relator for permanent total disability as of the date of his injury under Section 1465-81, General Code.
A writ of mandamus is denied.
Writ denied.
WEYGANDT, C.J., HART, ZIMMERMAN, BELL, WILLIAMS and TURNER, JJ., concur.
MATTHIAS, J., not participating. *Page 479 